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                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 HUAWEI TECHNOLOGIES CO., LTD., a
 Chinese corporation, and FUTUREWEI
 TECHNOLOGIES, INC., a Texas corporation,         FILED UNDER SEAL
                    Plaintiffs,

          vs.                                     The Honorable Amos L. Mazzant, III

 YIREN RONNIE HUANG, an individual, and           Civil Action No. 4:17-cv-00893 ALM
 CNEX LABS, INC., a Delaware corporation,

                    Defendants.


         DEFENDANTS’ SUR-REPLY TO PLAINTIFFS’ MOTION FOR SUMMARY
          JUDGMENT OF NO EVIDENCE ON DEFENDANTS’ COUNTERCLAIMS




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 NO EVIDENCE OF DEFENDANTS’ COUNTERCLAIMS
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 I.       INTRODUCTION

          Plaintiffs’ Reply relies solely on attorney argument, glossing over the substantial

 evidence identified by Defendants in their Opposition to Plaintiffs’ Summary Judgment Motion

 regarding Defendants’ Counterclaims (Dkt. 184). As demonstrated through the evidence in

 Defendants’ Opposition and discussed both in the Opposition and in this Sur-Reply, there is

 ample evidence supporting all of Defendants’ Counterclaims, and Plaintiffs’ Motion for

 Summary Judgment should be denied in its entirety. At a minimum, the Court should deny or

 defer ruling on the motion until Defendants have been afforded the discovery Plaintiffs continue

 to resist. See Dkt. 184-7.

 II.      WHETHER PLAINTIFFS HAVE BREACHED THE EMPLOYMENT
          AGREEMENT IS AN ISSUE OF FACT FOR THE JURY TO DECIDE.

          Plaintiffs incorrectly portray Defendants’ breach of contract argument as being strictly

 based on Mr. Huang’s subjective understanding of the Agreement. Dkt. 201 at 1. As stated in

 multiple pleadings (Dkts. 166, 177, and 182), Defendants maintain that the Employment

 Agreement unambiguously requires Plaintiffs to observe the carve-outs Mr. Huang made to

 Exhibit A and the Invention Disclosure of his Employment Agreement. See Dkt. 201, at Ex. A.

 While Plaintiffs feign ignorance about the carve-out (Dkt. 201, at 1-2), Exhibit A to the

 Employment Agreement unambiguously shows that Mr. Huang exempted “inventions or

 improvements” by his former employer Cisco and himself relevant to his employment and

 placed an “X” on the line indicating that he had inventions which he disclosed on the attached

 Invention Disclosure form and also placed an “X” on the line indicating “Due to certain

 confidentiality restrictions, I cannot disclose certain inventions that otherwise would be listed”

 (id. at HUAWEI_TX_002271 (emphasis added)). Paragraph 5 of the Agreement unambiguously

 excluded such preexisting IP from the scope of Mr. Huang’s obligations thereunder and required


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 that Plaintiffs not usurp Mr. Huang’s technology. Id. at HUAWEI_TX_002266-67 (prior

 inventions “are excluded from the scope of the Agreement”). This interpretation of the

 Agreement is supported by the only evidence submitted concerning its meaning and scope (see

 Dkt. 184-1, Huang Decl., ¶¶ 6-13), which this Court can and indeed must consider at summary

 judgment. As the Court stated in Lehman v. Select Portfolio Servicing, Inc., No. 4:13-CV-720,

 2015 WL 123868, at *2 (E.D. Tex. Jan. 7, 2015), in rejecting an evidentiary objection relating to

 the meaning of an agreement:

          As to Plaintiff’s best evidence objections, the Court agrees that the documents are the
          best evidence of what is contained therein. However, Syphus’ statements in the relevant
          paragraphs add additional testimony on the documents from Defendant’s perspective.
          Plaintiff’s objections are overruled.

 Here, too, Defendants have submitted the full text of the Agreement and Mr. Huang’s

 Declaration—the only competent evidence related to facts surrounding the agreement, its scope

 and the parties’ intent.

          Whether Plaintiffs have improperly taken and/or staked ownership over Mr. Huang’s

 preexisting IP in breach of their obligations under the Employment Agreement is a triable issue

 of fact, based on all the evidence set forth in Defendants’ Opposition to the “No Evidence”

 summary judgment motion and additional evidence sought under Fed. R. Civ. P. 56(d). See Dkt.

 184, at pp. 3-15. Also, as discussed in Defendants’ concurrently filed Motion for Leave to

 Amend Their Answer and Counterclaims, to the extent this Court finds that the Employment

 Agreement is ambiguous, then the interpretation of the contract is an issue for the jury to decide

 and Mr. Huang’s subjective intent is a relevant consideration. See In re Liljeberg Enters., Inc.,

 304 F.3d 410, 439 (5th Cir. 2002).




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 III.     AMPLE EVIDENCE SHOWS THAT PLAINTIFFS HAVE MISAPPROPRIATED
          DEFENDANTS’ TRADE SECRETS, INTENTIONALLY INTERFERED WITH
          DEFENDANTS’ CONTRACTUAL RELATIONS, UNFAIRLY COMPETED,
          COMMITTED RICO VIOLATIONS, AND WERE UNJUSTLY ENRICHED
          PURSUANT TO COUNTS 2-14 OF THEIR COUNTERCLAIMS, AND, AT
          MINIMUM, MATERIAL ISSUES OF FACT EXIST FOR A JURY TO DECIDE.

          While Plaintiffs offer attorney argument attempting to explain away the substantial

 evidence presented by Defendants in support of these counterclaims, the evidence must be

 viewed in the light most favorable to Defendants at summary judgment. Ragas v. Tennessee

 Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998). Plaintiffs’ attorney argument in fact

 demonstrates that there are material issues of fact for a jury to decide. These facts include at the

 least the following acts of misconduct:




          Huawei’s four patent applications: Plaintiffs do not dispute that their four cited patent

 applications in Europe and China—European Patent App. EP3147792A1, Chinese Patent Pub.

 CN104111907, Chinese Patent Pub. CN108062285A, and PCT Application

 WO2015197027A1—substantially mirrored CNEX’s earlier-filed U.S. patent applications that


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 were confidential at the time. The timing of the filing of these applications after Mr. Huang had

 left Huawei and co-founded CNEX coincides perfectly with




          This is reinforced by the fact that these 4 patent applications claim priority back to June

 2014. Discovery under Fed. R. Civ. P. 56(d) into the origins and conceptions of the subject

 matter in these patent applications will likely reveal additional evidence of misappropriation.




                                       Whether there have been reasonable measures to preserve

 secrecy is a triable issue of fact. See Quintel Tech., Ltd. v. Huawei Techs. USA, Inc., No. 4:15-

 cv-307, 2018 WL 460227, at *4-5 (E.D. Tex. Jan. 18, 2018). Issues surrounding whether a party

 misappropriated or acquired trade secrets under false pretenses is also a triable issue of fact.

 Wellogix, Inc. v. Accenture, LLP, 716 F.3d 867, 876-77 (5th Cir. 2013).

          Huawei attempts to excuse its subsequent misuse and improper disclosure of CNEX’s

 technical and confidential information by arguing that CNEX voluntarily shared the information

 with it (Dkt. 201 at 3), but Huawei simply ignores the above-referenced evidence.



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              Consideration of another company’s trade secrets during research and development

 constitutes trade secret misappropriation. Think Village-Kiwi, LLC v. Adobe Sys., Inc., No. C08-

 04166 SI, 2009 WL 3837270, at *3 (N.D. Cal. Nov. 16, 2009); Bohnsack v. Varco, LP, 668 F.3d

 262, 279 (5th Cir. 2012).

          Keji Huang’s 2016 Visit to CNEX:




                                                      Acquiring trade secrets under false pretenses

 is a form of misappropriation. Wellogix, 716 F.3d at 876-77.




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          Huawei’s Conspiracy to Misappropriate with Xiamen University: Plaintiffs likewise fail

 to dispute the vast majority of the evidence that Defendants submitted in support of their

 conspiracy to misappropriate trade secrets and RICO allegations against Huawei and Xiamen

 University. Contrary to Plaintiffs’ assertion, Defendants have never argued that Huawei stole the

 OpenChannel specifications, which are publicly available standards defining items like register-

 level interfaces for software running on a host computer to communicate with a non-volatile

 memory device system. See http://lightnvm.io/docs/OCSSD-2_0-20180129.pdf. Instead,




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                                                        See In re Lipsky, 411 S.W.3d 530, 549 (Tex.
 App. 2013) (“A civil conspiracy claim may be proved by circumstantial evidence and reasonable
 inferences from parties’ actions”) (citation omitted).


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                                            In addition, as detailed in Defendants’ Opposition,

 Huawei’s motion on this claim should also be denied pursuant to Fed. R. Civ. P. 56(d) because

 additional discovery requests for documents and depositions will uncover additional evidence of

 Plaintiffs’ tortious interference with Defendants’ prospective business relations with Chinese

 universities and other third parties.

 IV.      BY FAILING TO ADDRESS DEFENDANTS’ DECLARATORY RELIEF
          CLAIMS (COUNTS 15-18) IN THEIR REPLY, PLAINTIFFS HAVE CONCEDED
          THAT THOSE CLAIMS ARE TRIABLE.

        Huawei’s Reply does not even attempt to address these counterclaims, suggesting Plaintiffs

 have conceded that these counterclaims are triable. At minimum, Plaintiffs have not disputed

 any of the evidence proffered by Defendants in support of those counterclaims in their

 Opposition (Dkt. 184), and thus, Plaintiffs’ summary judgment request as to those claims must

 be denied.

 V.       PLAINTIFFS’ MOTION MUST BE DENIED BECAUSE THEY FAIL TO
          DISPUTE DEFENDANTS’ FED.R.CIV.P. 56(D) ARGUMENTS.

          Defendants detailed the numerous and diligent efforts they have made to date in their

 Opposition to pursue the necessary discovery to prove all of their counterclaims. See Dkt. 184-7,

 Mar Decl., at ¶¶ 2-8. Plaintiffs do not dispute any of this in their Reply.

 VI.      CONCLUSION

          For the reasons set forth above and in their Opposition (Dkt. 184), Defendants

 respectfully request that the Court deny Plaintiffs’ motion or, in the alternative, defer ruling or

 deny Plaintiffs’ Motion pursuant to Fed. R. Civ. P. 56(d).




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 DATED: January 25, 2019                        Respectfully submitted,

                                                FARELLA BRAUN + MARTEL LLP


                                                        /s/ Jeffrey M. Fisher

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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on January 25, 2019.



                                                    /s/ Jeffrey M. Fisher
                                               Jeffrey M. Fisher



                       CERTIFICATE OF AUTHORIZATION TO SEAL

          Pursuant to Local Rule CV-5, the undersigned counsel hereby certifies that authorization

 for filing under seal has been previously granted by the Court in the Protective Order (Dkt. 118)

 entered in this case on October 2, 2018.


                                                       /s/ Jeffrey M. Fisher
                                               Jeffrey M. Fisher

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